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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 21-cr-0229-RBJ

 UNITED STATES OF AMERICA,

                        Plaintiff,
 v.
            1. DAVITA INC.,
            2. KENT THIRY,

                        Defendants.

 _____________________________________________________________________________

               [PROPOSED] ORDER MODIFYING CASE SCHEDULE
 _____________________________________________________________________________

        Having reviewed the parties’ joint motion for a case schedule modification, the Court

 ORDERS that the following schedule shall govern the proceedings in this matter:

                               Event                                         Date

  Parties shall exchange proposed jury instructions.                       2/07/2022

  Parties shall meet and confer in good faith to stipulate to as      2/08/2022-02/21/2022
  many proposed jury instructions as possible.

  Parties shall file a single set of the jury instructions with the       02/22/2022
  court, identifying disputed instructions and those to which
  the parties stipulate.

  For disputed instructions, the parties shall file both versions
  of the proposed instruction (the Division’s version and
  defendants’ joint version) and supporting citations thereof.

  The parties may also file separate memoranda in support of
  their proposed, disputed jury instruction.

  Parties may file memoranda in response to opposing                      03/01/2022
  counsel’s arguments filed on 02/22/2022.



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        It is further ORDERED that the voir dire deadline set forth in the original case schedule,

 ECF No. 39, is suspended until further notice.

        It is further ORDERED that the deadline to submit responses to supplemental motions in

 limine set forth in the original case schedule, ECF No. 39, is suspended, and that the parties shall

 file their responses to supplemental motions in limine by February 22, 2022.



 DATED this ___ day of February, 2022.

                                               BY THE COURT:


                                               ________________________________
                                               R. Brooke Jackson
                                               United States District Judge




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